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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF CONNECTICUT
                                         NEW HAVEN OFFICE

___________________________________
EDNA L. CARUSO, P.A., f/k/a         )
CARUSO, BURLINGTON, BOHN &          )
COMPIANI, P.A., a Professional      )
Association,                        )
                                    )
     Judgment Creditor,             )                             CIVIL ACTION NO.:
                                    )
vs                                  )                             3:06-MC-00028-MRK
                                    )
FRIEDA PERLOW                       )
                                    )                             July 7, 2006
     Judgment Debtor.               )
___________________________________)

                           BRIEF IN SUPPORT OF MARSHAL’S FEES

          This brief is submitted in accordance with this court’s

order of June 28, 2006.                            At issue is the $8,788.16 fee

Marshal Hubbs collected for executing against Sovereign Bank

(see return of service docketed as #16).

          Defendant does not contend the net amount of money paid

to Plaintiff should be returned because there already were a

series of valid outstanding judgments which evidenced

Defendant Perlow’s bona fide debt to Plaintiff.                            The




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proceeds of the execution were applied to those judgments.



ARGUMENTS:

I.        The Marshal is an indispensable party

          The Marshal is an indispensable party for the court to

determine whether or not the Marshal should be paid.                        If he

is not a party to this proceeding, the court has no

jurisdiction to determine his rights.


II.       The statute is clear on its face mandating the
          Marshal’s 15% statutory fee

          Connecticut General Statutes §52-261(a)(6) governs the

fees and expenses that are allowed and paid to officers for

levy of an execution.                          The statute provides that:

                    “…The following fees shall be allowed and
                    paid: …(6) for the levy of an execution,
                    when the money is actually collected and
                    paid over, or the debt or a portion of the
                    debt is secured by the officer, fifteen
                    percent on the amount of the execution,
                    provided the minimum fee for such execution
                    shall be thirty dollars…”

          There is no doubt the Marshall actually collected the




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funds from Sovereign Bank and paid them over to Plaintiff.

          Defendant Perlow did not object to the registration of

the judgment when the application was served on her on

January 20, 2006.                      Defendant Perlow did not object to the

February 7, 2006 certificate of service.                                   Defendant Perlow

did not object to Houston Putnam Lowry’s February 15, 2006

affidavit showing the efforts to give her actual notice.

Defendant Perlow failed to file an appearance so she

received no notice when the court issued three bank

executions on March 21, 2006.                                    Defendant Perlow did not

object to the March 21, 2006 motion to certify the judgment

for registration in other districts.                                   Defendant Perlow did

not respond to this court’s April 13, 2006 order.                                   Defendant

Perlow did not respond to Plaintiff’s April 25, 2006 brief.

Defendant Perlow did not object to validity of the execution

when it was served upon her Sovereign Bank on May 5, 2006

(although she did claim an exemption).

          Now Defendant Perlow is trying to impeach ex post facto

an execution that was validly issued by this court and was




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valid when it was served.                              If the court requires the

Marshal’s fees to be disgorged after the proceeds of an

execution have been distributed, one can only imagine how

reluctant Marshals will be to carry out their sworn duty

when their compensation is collaterally attacked after the

fact.

          Defendant Perlow is also contesting the amount of

Marshal’s fees under other judgments in a related proceeding

before Judge Mark Taylor in the Connecticut Superior Court.



III. The subsequent revocation of the registration did not
     invalidate the Marshal’s claim for fees

          When an execution is issued to a Marshal, he is bound

to obey.            If a defendant has property subject to levy

sufficient to satisfy the execution, the marshal can be

deprived of his fee only by his own neglect of duty, Kitchen

v. Woofin, 14 Fed 693 (1877).                                    If Marshal executes on a

judgment that is later invalidated, he is still entitled to

his fee from the money he collected, Ginatti v. Veras, 2003




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WL 22480165 (2003)(attached).

          The logic of that case especially applies here because

there is no doubt Defendant Perlow actually owed Plaintiff

the money that was seized.



     IV.       Conclusion

          For the foregoing reasons, Defendant’s motion should be

denied.

                                                                          Digitally signed by Houston Putnam Lowry
                                                                          DN: cn=Houston Putnam Lowry, c=US,
                                                                          o=Brown and Welsh, P.C.,
                                                                          email=HPLowry@BrownWelsh.com
                                                                          Reason: I am the author of this document
                                                                          Date: 2006.07.07 11:02:01 -04'00'
                                                           _______________________________
                                                           Houston Putnam Lowry, Esq.
                                                           Counsel for Edna L. Caruso, P.A.
                                                           Brown & Welsh, P.C.
                                                           Meriden Executive Park
                                                           530 Preston Avenue
                                                           P.O. Box 183
                                                           Meriden, CT 06450-0183
                                                           (203) 235-1651
                                                           FAX: (203) 235-9600
                                                           eMail: HPLowry@BrownWelsh.com
                                                           Federal Bar # CT05955




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                                                             damages.
   Only the Westlaw citation is currently available.
   UNPUBLISHED OPINION. CHECK COURT
   RULES BEFORE CITING.                                              FN1. Pursuant to the Connecticut Code of
    Superior Court of Connecticut,Judicial District of               Evidence §§ 2-1 and 2-2, the court takes
                        Hartford.                                    judicial notice of matters contained in the
                Larry GIANATTI et al.,                               court's files.
                            v.
                   Teresita VERAS.                                   FN2. The plaintiffs allege that Gianatti
                  No. CV020819231S.                                  owned the premises at the time of the
                                                                     events alleged and that Franklin Center,
                       Oct. 8, 2003.                                 LLC became the owner afterwards.

                                                             In their second count, the plaintiffs contend that the
   Krasow Garlick & Hadley LLC, Hartford, for Larry          defendant knew that Gianatti was in the process of
   Gianatti and Franklin Center LLC.                         refurbishing the premises when she requested her
   Brown Paindiris & Scott LLP, Glastonbury, for             agents to remove the fixtures. As a result they
   Teresita Veras.                                           claims damages due to the delay in refurbishing
   ROBERT B. SHAPIRO, Judge.                                 which occurred.
   *1 This matter comes before the court concerning
   the defendant Terasita Veras' motion to open              The court's file reflects a marshal's return, dated
   judgment and for stay of execution (hereinafter, the      August 27, 2002, which states that she made abode
   “motion to open”). The court held an evidentiary          service on the defendant at 605 New Britain
   hearing concerning the motion on October 7, 2003.         Avenue, in Hartford. On September 24, 2002, a
   After considering the evidence and the parties'           default was entered against the defendant for failure
   arguments, the motion is granted, for the reasons set     to appear (# 101.10). The motion for default
   forth below.                                              contains a certification indicating that a copy of the
                                                             motion had been mailed to the defendant at the 605
                                                             New Britain Avenue address. On December 24,
                   I. BACKGROUND                             2002, the plaintiffs claimed the matter for the
                                                             hearing in damages trial list. The space on the claim
   In this action, the plaintiffs, Larry Gianatti and        form for “name of each party served and address at
   Franklin Center, LLC, set forth a two-count               which service was made” states, “No parties of
   complaint, dated August 15, 2002.FN1 In the first         record.”
   count, the plaintiffs allege that the defendant was a
   tenant at premises owned by them FN2 and located          Thereafter, the case appeared before this court at
   at 118-136 Franklin Avenue, in Hartford,                  the hearings in damages trial list. By order dated
   Connecticut, until she vacated on February 28,            April 28, 2002, of which notice was sent on May 2,
   2002. The plaintiffs further allege that on or about      2003, the court entered judgment for the plaintiffs
   May 4, 2002, the defendant, without permission,           in the amount of $14,753.01. Since the defendant
   caused certain individuals, who were acting under         had not appeared, notice of the court's action would
   her supervision and as her agents, to enter the           not have been sent to her.
   property for the purpose of removing fixtures. As a
   result of this wrongful entry, the plaintiffs claim       The plaintiffs executed on the judgment on July 8,

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   2003, when a marshal made demand on People's                forth below.
   Bank. See Court Exhibit 1 (marshal's return
   concerning execution). The defendant then
   appeared through counsel and the motion to open,                       II. STANDARD OF REVIEW
   dated July 31, 2003, was filed in court on August 4,
   2003.                                                       “A motion to open and vacate a judgment is
                                                               addressed to the [trial] court's discretion, and the
   In the motion to open, the defendant alleges that the       action of the trial court will not be disturbed on
   first notice she received of this case came when the        appeal unless it acted unreasonably and in clear
   plaintiffs executed on her bank account. She asserts        abuse of its discretion.” Gillis v. Gillis, 214 Conn.
   that she “does not speak English and has a very             336, 340, 572 A.2d 323 (1990).
   limited understanding of the judicial process, and
   little or no ability to read English. Any legal process     General Statutes § 52-212(a) FN4 and Practice
   she may have received (which she does not                   Book § 17-43(a) FN5 provide for the setting aside
   concede) could not have been understood by her.”            of a judgment which the court has rendered upon a
   See motion to open, ¶ 3. In paragraph 4, she states         default or nonsuit. See Woodruff v. Riley, 78
   that she has valid defenses to the action. She              Conn.App. 466, 470-471, 827 A.2d 743 (2003).
   requests that the judgment be vacated and a stay of         Practice Book § 17-43(a) “is almost identical to the
   execution.                                                  statutory language [of § 52-212]. To obtain relief
                                                               from a judgment rendered after default a
   *2 In response, the plaintiffs filed an objection to        two-pronged test must be satisfied. The aggrieved
   the motion to open, dated August 8, 2003 (# 106).           person must show reasonable cause, or that a good
   The plaintiffs contend that the judgment should not         defense existed at the time of the judgment, and that
   be opened because the defendant had more than               the movant was prevented by mistake, accident or
   adequate knowledge of the existence and pendency            other reasonable cause from making the defense.”
   of the action. The plaintiffs cite the marshal's initial    (Internal quotation marks omitted.) Id., 78
   return of service and their motion for default.FN3 In       Conn.App. at 470-471.FN6
   addition, they assert that the defendant is no
   stranger to the judicial process, citing three previous
   actions which were commenced against her                            FN4. General Statutes § 52-212(a)
   concerning her prior occupancy of the property.                     provides: “[a]ny judgment rendered or
   They note also that she is currently the plaintiff in a             decree passed upon a default or nonsuit in
   civil action pending in this court, and a defendant in              the Superior Court may be set aside, within
   a criminal action, allegedly stemming from the same                 four months following the date on which it
   allegations which are the subject of this action. See               was rendered or passed, and the case
   plaintiffs' objection, pp. 1-2.                                     reinstated on the docket, on such terms in
                                                                       respect to costs as the court deems
                                                                       reasonable, upon the complaint or written
            FN3. In their objection, page 1, the                       motion of any party or person prejudiced
            plaintiffs also refer to a mailing to the                  thereby, showing reasonable cause, or that
            defendant of a certification regarding the                 a good cause of action or defense in whole
            entry of judgment. This certification does                 or in part existed at the time of the
            not appear in the court's file, nor is it listed           rendition of the judgment or the passage of
            on the court's docket as having been filed.                the decree, and that the plaintiff or
                                                                       defendant was prevented by mistake,
   At the hearing held by the court on the motion to                   accident or other reasonable cause from
   open, the defendant was the only witness. She                       prosecuting the action or making the
   testified with the assistance of a Spanish-speaking                 defense.”
   interpreter. Additional references to the facts are set

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           FN5. Section 17-43(a) provides, in                 authority. Black v. Universal Credit C.I.T. Corp.,
           relevant part, “[a]ny judgment rendered or         150 Conn. 188, 194, 187 A.2d 243 (1962). ‘
           decree passed upon a default or nonsuit            Negligence is no ground for vacating a judgment,
           may be set aside within four months                and it has been consistently held that the denial of a
           succeeding the date on which notice was            motion to open a default judgment should not be
           sent, and the case reinstated on the docket        held an abuse of discretion where the failure to
           on such terms in respect to costs as the           assert a defense was the result of negligence.’
           judicial authority deems reasonable, upon          Pantlin & Chananie Development Corp. v.
           the written motion of any party or person          Hartford Cement & Building Supply Co., 196 Conn.
           prejudiced thereby, showing reasonable             233, 240-41, 492 A.2d 159 (1985). Negligence of a
           cause, or that a good cause of action or           party or his counsel is insufficient for purposes of §
           defense in whole or in part existed at the         52-212 to set aside a default judgment.” State v.
           time of the rendition of such judgment or          Ritz Realty Corp., 63 Conn.App. 544, 548-49, 776
           the passage of such decree, and that the           A.2d 1195 (2001).
           plaintiff or the defendant was prevented by
           mistake, accident or other reasonable cause        “Parties are not justified in neglecting important
           from prosecuting or appearing to make the          legal matters merely because of the press or
           same.”                                             importance of other business and such negligence is
                                                              ordinarily not excusable.” Triton Associates v. Six
           FN6. “Practice Book § 17-43(a) also                New Corp., 14 Conn.App. 172, 177, 540 A.2d 95,
           provides that the ‘written motion shall be         cert. denied, 208 Conn. 806, 545 A.2d 1104 (1988).
           verified by the oath of the complainant or         “A party to a suit in court must give it the care and
           the complainant's attorney ...” ‘ (Internal        attention which a man of ordinary prudence usually
           quotation marks omitted .) Opoku v. Grant          bestows upon his important business. If he fails to
           63 Conn.App. 686, 691, 778 A.2d 981                do so he cannot obtain relief from a judgment
           (2001). General Statutes § 52-212(b)               resulting from his negligent failure to take the
           likewise states that the “written motion           proceedings required for his protection.” (Internal
           shall be verified by the oath of the               quotation marks omitted.) Motes v. Karzian Moving
           complainant or his attorney ...” “The term ‘       & Storage, Inc., 31 Conn.Sup. 540, 542, 329 A.2d
           verification’ is defined as ‘[c]onfirmation        624 (1974).
           of correctness, truth, or authenticity ...’
           Black's Law Dictionary (6th Ed.1990).”
           Opoku v. Grant, supra, 63 Conn.App. at                              III. DISCUSSION
           693. The court may also find that
           compliance with this requirement has been          *3 The motion to open was filed in a timely
           waived by the opposing party. Id., at              manner, less than four months after the entry of
           691-92. The plaintiffs do not contend that         judgment. See General Statute § 52-212(a).
           the defendant has failed to comply with
           this requirement. As noted, the defendant          At the hearing on the motion to open, the defendant
           testified before the court at the hearing on       argued that she has two good defenses to the
           the motion to open; the plaintiffs then            plaintiffs' action: (1) that the allegations of the
           cross-examined        her.     Under       the     complaint are untrue; and (2) that the plaintiffs
           circumstances, the court deems that                failed to join as defendants necessary parties, the
           compliance       with      the    verification     individuals who allegedly removed the fixtures. The
           requirement has been waived.                       plaintiffs do not concede that the defendant has a
                                                              good defense. In argument, they assert that it is not
   “A court should not open a default judgment in             necessary for them to join these individuals as
   cases where the defendants admit they received             defendants.
   actual notice and simply chose to ignore the court's

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   Failure to join a necessary party may be raised in a       Britain Avenue. The latter is the address shown on
   motion to strike as an argument that the complaint is      the marshal's return of August 27, 2002 and on the
   legally insufficient. See Practice Book § 10-39(a)(3)      certification in the motion for default. Her home is
   . See also Biro v. Hill, 214 Conn. 1, 5-7, 570 A.2d        located in a two-family house; her brother lives
   182 (1990). The court, however, need not                   upstairs. She agreed that she receives mail there.
   determine, at this stage, whether or not this is a
   good defense in this matter. At the hearing, the           *4 Under Connecticut law, proof of mailing raises a
   plaintiffs did not challenge the defendant's denial,       presumption of receipt. “[T]hat presumption is
   nor was it the subject of testimony. Clearly, a            rebuttable. The mailing ... raises a presumption that
   general denial, if credited, would constitute a            notice was sent and received in the absence of a
   complete defense. For the purposes of the motion to        finding to the contrary.” (Emphasis by the
   open, whether or not the defendant has at least one        Appellate Court; internal quotation marks omitted.)
   good defense to the action has therefore not as yet        Tyler E. Lyman, Inc. v. Lodrini, 63 Conn.App. 739,
   been challenged. Rather, the issue before the court,       747, 780 A.2d 932, cert. denied, 258 Conn. 902,
   as raised by the objection to the motion to open, is       782 A.2d 137 (2001). Here, the presumption is
   whether the defendant was prevented by mistake,            rebutted by the defendant's testimony to the fact that
   accident, or other reasonable cause from appearing         the number of her address is 607 New Britain
   to make her defense.                                       Avenue, not 605 New Britain Avenue. Also, as
                                                              noted below, in a currently pending civil matter in
   “Fundamental tenets of due process ... require that        which she is a plaintiff, Veras v. Aparicio, Docket
   all persons directly concerned in the result of an         No. CV XX-XXXXXXX S, the summons, dated March
   adjudication be given reasonable notice and                26, 2003, lists her address as 607 New Britain
   opportunity to present their claims or defenses.” In       Avenue.
   re Carlos Q., 62 Conn.App. 681, 688, 772 A.2d
   668 (2001). “The existence of actual or constructive       It is unclear whether the defendant received the
   notice is a question of fact properly within the           summons and complaint or subsequent documents
   province of the trial court.” (Internal quotation          related to the case. The court finds that, even if
   marks omitted.) Handy v. Minwax Co., Inc., 46              service at the right address did occur, the defendant
   Conn.App. 54, 57, 698 A.2d 339, cert. denied, 243          was prevented by reasonable cause, a language
   Conn. 921, 701 A.2d 342 (1997). In making such a           barrier,    from    making     her    defense.    See
   finding it is “for the finder of fact to hear [the         Granetos-Marmorese v. Intercontinental Marble
   witnesses'] testimony and observe their demeanor.          and Granite Enteprises, Inc., Superior Court,
   Credibility of testimony is a matter for the trial         judicial district of Hartford-New Britain at
   court.” Habura v. Kochanowicz, 40 Conn.App. 590,           Hartford, Docket No. 360749 (October 25, 1991,
   594, 672 A.2d 512 (1996).                                  Wagner, J.) (5 Conn. L. Rptr. 168) (6 CSCR 1038)
                                                              (motion to set aside judgment granted due to
   At the hearing on the motion, the defendant credibly       language barrier). There is no evidence before the
   testified, though a Spanish-speaking interpreter, that     court tending to show that the defendant
   she cannot read English. Spanish is her first              understands written English. See Bochenski v.
   language. She stated that she did not recall               Bochenski, Superior Court, judicial district of
   receiving the summons and complaint in this matter.        Windham at Putnam, Docket No. FA 96 0053620 S
   She denied that a marshal had served her with these        (November 12, 1998, Kocay, J.) (witnesses testified
   documents. She stated that she learned of the suit         that defendant understood English).
   for the first time after her checks bounced, which,
   she was informed, resulted from the execution on           The court is unpersuaded by the plaintiffs' argument
   her bank account.                                          that it should find that the defendant must have
                                                              understood the pleadings based on the fact that,
   On cross-examination, she agreed that her address,         previously, she was involved in other litigation
   607 New Britain Avenue, is also known as 605 New           concerning the property, or that she is a current

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   plaintiff in another matter. The court declines to         court (Crawford, J.).
   draw the requested inference.
                                                              The court notes also that the defendant is a plaintiff
   “In a civil case, proof of a material fact by inference    in a currently pending case, Veras v. Aparicio,
   from circumstantial evidence need not be so                Docket No. CV XX-XXXXXXX S. This case apparently
   conclusive as to exclude every other hypothesis. It        does not involve the plaintiffs here and concerns
   is sufficient if the evidence produces in the mind of      different property. As discussed, in the summons,
   the trier a reasonable belief in the probability of the    dated March 26, 2003, the plaintiff lists her address
   existence of the material fact.” Service Road Corp.        as 607 New Britain Avenue, not 605 New Britain
   v. Quinn, 241 Conn. 630, 641, 698 A.2d 258 (1997)          Avenue. In contrast, the court's file in Docket No.
   . Here, the evidence does not produce such a               CR02-0559827-S, the criminal matter referenced by
   reasonable belief in support of the requested              the plaintiffs, lists her address as 605 New Britain
   inference. To the contrary, the most probable              Avenue.
   explanation for the defendant's failure to appear in a
   timely manner was that she did not understand she          The record of events in the cases which were
   was being sued to recover money damages.                   pending in the Housing Session shows that the
                                                              defendant engaged counsel to represent her when
   The court has reviewed the files, cited by the             Gianatti sought to evict her or sued for damages.
   plaintiffs, of the three previous actions in the           To the court it is likely that, had the defendant
   Superior Court, Housing Session at Hartford.               understood that she was being sued for money
   Abode service occurred in only one of the three.           damages in this case, she would have engaged
   Docket No. HDSP-114345 concerned a May 4,                  counsel to assist her in making a defense, as she
   2001 summary process complaint by Gianatti. The            promptly did after learning of the execution on her
   marshal's return there states that the marshal left the    bank account and as she previously did in
   papers with and in the presence of the defendant, at       connection with the housing session matters. The
   605 New Britain Avenue. The defendant appeared             court is unpersuaded that the fact that she has been,
   through counsel. Her motion to dismiss was                 and currently is, a litigant in other cases shows that
   granted. An entry for July 17, 2001 indicates that a       she understood she was being sued in this case and
   Spanish-speaking interpreter had been scheduled to         chose to ignore it or was negligent in failing to
   attend a court proceeding.                                 respond to it.

   *5 Docket No. CVH-6713 involved a civil action             Under the circumstances, the defendant has met her
   by Gianatti against the defendant, in which he             burden to show that she “was prevented by mistake,
   sought money damages, based on a complaint dated           accident or other reasonable cause from ... appearing
   June 20, 2001. According to the marshal's return,          ” to make her defense. See P.B. § 17-43.
   abode service was made at 605 New Britain                  Accordingly, the motion to open is granted and the
   Avenue. In response, the defendant engaged                 judgment is vacated. Since the judgment is vacated,
   counsel, filed an answer, and counterclaimed. The          the net amount received from the execution, after
   action was withdrawn on March 22, 2002.                    subtracting the marshal's and the bank's fees,
                                                              $2,390.50, is to be returned to the defendant. See
   In Docket No. HDSP-115648, by complaint dated              Court Exhibit 1 (marshal's return concerning
   August 2, 2001, Gianatti commenced a summary               execution).
   process action. According to the return, the suit
   papers were left in the defendant's presence at 122
   Farmington Avenue in Hartford. In addition, service                           CONCLUSION
   was made on the defendant's then-attorney. In
   response, the defendant again appeared through             For the foregoing reasons, the motion to open is
   counsel. In October 2001, the parties filed a              granted and the previously entered judgment is
   stipulation for judgment which was approved by the         vacated. The plaintiffs are directed to return to the

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   defendant the net proceeds of the execution, $2,390
   .50. It is so ordered.

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                                        CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was
mailed on this 7th day of July, 2006 to:

Larry H. Lewis, Esq.
Weigand, Mahon & Adelman, P.C.
636 Broad Street
P.O. Box 2420
Meriden, CT 06450

Honorable Mark R. Kravitz
United States District Court
141 Church Street
New Haven, CT 06510

David F. Hubbs – CT State Marshal
P.O. Box 637
Southington, Connecticut 06489
                                                                            Digitally signed by Houston Putnam
                                                                            Lowry
                                                                            DN: cn=Houston Putnam Lowry,
                                                                            c=US, o=Brown and Welsh, P.C.,
                                                                            email=HPLowry@BrownWelsh.com
                                                                            Reason: I signed this certificate of
                                                                            service
                                                                 _________________________
                                                                            Date: 2006.07.07 11:02:27 -04'00'


                                                                 Houston Putnam Lowry




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